 8:07-cr-00331-LES-TDT    Doc # 23   Filed: 11/13/07   Page 1 of 2 - Page ID # 41



               IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:07CR331
                              )
          v.                  )
                              )
CARLOS TAYLOR,                )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue trial (Filing No. 22).          Subject to the filing of a

written waiver for speedy trial, the motion will be granted.

Accordingly,

           IT IS ORDERED that defendant’s motion is provisionally

granted; trial of this matter is rescheduled for:

                Monday, January 14, 2008, at 9 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.         This will give the parties

time to explore the possibility of a plea or to prepare for

trial.   The ends of justice will be served by continuing this

case and outweigh the interests of the public and the defendant

in a speedy trial.       The additional time between November 13,

2007, and January 14, 2008, shall be deemed excludable time in
 8:07-cr-00331-LES-TDT   Doc # 23   Filed: 11/13/07   Page 2 of 2 - Page ID # 42



any computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 13th day of November, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
